                    UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

                                       No: 24-1889

                               Sorptive Minerals Institute

                                                  Petitioner

                                             v.

Mine Safety and Health Adminstration and Lori Chavez-DeRemer, Secretary of Labor, United
                              States Department of Labor

                                               Respondents

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                       American College of Chest Physicians, et al.

                                   Amici on Behalf of Respondent


                                       No: 24-2661

                   National Stone, Sand, and Gravel Association, et al.

                                                  Petitioners

                                             v.

                   Mine Safety & Health Review Administration, et al.

                                               Respondents

                                ------------------------------

                Essential Minerals Association and Silica Safety Coalition

                                     Amici on Behalf of Petitioner

                       American College of Chest Physicians, et al.

                                   Amici on Behalf of Respondent

                                       No: 24-2663

            Sorptive Minerals Institute and Blue Mountain Production Company

                                                  Petitioners

                                             v.

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                      Mine Safety & Health Review Administration, et al.

                                                   Respondents

                                    ------------------------------

                          American College of Chest Physicians, et al.

                                       Amici on Behalf of Respondent

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     Petitions for Review of an Order of the Federal Mine Safety & Health Administration
                                        (89 FR 28218)
                                     (MSHA-2023-0001)
______________________________________________________________________________

                                             ORDER

       The motions for leave to intervene are denied.


                                                       April 30, 2025




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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